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 1                                                             Judge Marsha J. Pechman
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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   UNITED STATES OF AMERICA,              )
                                            )                  NO. CR06-125P
11                    Plaintiff,            )
                                            )
12              v.                          )
                                            )
13   RYAN BROWN,                            )
                                            )                  ORDER CONTINUING
14                    Defendant.            )                  TRIAL DATE AND
                                            )                  PRETRIAL MOTIONS
15                                          )                  DEADLINE
      ______________________________________)
16

17
            THIS MATTER comes before the Court on a stipulated motion of the government
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     and defendant RYAN BROWN to continue the trial date and the pretrial motions
19
     deadline date. Having considered the entirety of the record and files herein, the Court
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     finds that failure to grant a continuance would likely result in a miscarriage of justice.
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     The government will be obtaining a superseding indictment on September 13, 2006,
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     adding three additional charges that significantly enhance the defendant’s possible prison
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     term if convicted. Defense counsel is currently in trial and needs additional time to be
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     effectively prepared for trial on the charges that will be contained in the superseding
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     indictment. The defendant has signed a waiver of speedy trial to accomodate the
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     requested continuance.
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            The Court therefore finds that the interests of the public and the defendant in a
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     Order Continuing Trial and Motions Deadline
     Brown/CR06-125P –1                                                             UNITED STATES ATTORNEY
                                                                                     601 UNION STREET, SUITE 5100
                                                                                   SEATTLE, WASHINGTON 98101-3903
                                                                                            (206) 553-7970
            Case 2:06-cr-00125-MJP        Document 24       Filed 09/13/06   Page 2 of 2



 1   speedy trial in this case are outweighed by the ends of justice.
 2          IT IS NOW, THEREFORE, ORDERED that trial of defendant RYAN BROWN
 3   be continued to October 10, 2006, and that the time between the date of this Order and
 4   the new trial date be excludable time under the Speedy Trial Act pursuant to Title 18,
 5   United States Code, Sections 3161(h)(8)(A), 3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii).
 6          IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
 7   September 21, 2006.
 8          Dated this 13th day of September, 2006
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10

11                                             /S/Marsha J. Pechman
                                               UNITED STATES DISTRICT JUDGE
12

13   Presented by:
14

15   s/ Lisca Borichewski
     LISCA BORICHEWSKI
16   Assistant United States Attorney
17   (206) 553-2266, Fax: (206) 553-4440
     E-mail: lisca.borichewski@usdoj.gov
18   Washington State Bar #24300
19
     s/ John Henry Browne
20   Telephonically approved 9/11/06
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     Order Continuing Trial and Motions Deadline
     Brown/CR06-125P –2                                                          UNITED STATES ATTORNEY
                                                                                  601 UNION STREET, SUITE 5100
                                                                                SEATTLE, WASHINGTON 98101-3903
                                                                                         (206) 553-7970
